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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

       -against-                                19-CR-561 (LAP)
                                                11-CV-691 (LAK)
STEVEN DONZIGER,
                                                    ORDER
                 Defendant.


LORETTA A. PRESKA, UNITED STATES DISTRICT JUDGE:

    By order dated October 28, 2020, the Court directed Mr.

Donziger to propose procedures for taking remote trial testimony

of defense witnesses.    (Dkt. no. 196.)     Mr. Donziger has filed

his proposals, and the Government has responded.         (Dkt. nos.

197, 198.)   Having considered the parties’ proposals, the Court

approves the following procedures for remote testimony of

defense witnesses:

    (1)   The defense shall identify for the Court each witness
          and the specific location from which the named witness
          will be testifying at least 48 hours before the
          testimony.

    (2)   To the extent the defense intends to introduce any
          exhibits during the direct examination, the defense
          shall identify and provide copies of those exhibits to
          be used during that examination to the Court and the
          special prosecutors at least 24 hours before the
          witness’s testimony. The defense will arrange for a
          copy of those exhibits to be available at the location
          where the witness is testifying.

    (3)   Insofar as any witness requires an interpreter, a
          court-certified interpreter will provide the
          translation from the courtroom at 500 Pearl Street.
          Thus, to ensure such services will be available, the
          defense must provide notification of the need for an
          interpreter and the language at issue by November 9.

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(4)   The witness may not consult with anyone other than the
      Court, the attorney conducting the examination, and,
      if applicable, the court-certified interpreter while
      he or she is testifying. This rule does not apply to
      consultation during breaks in testimony.

(5)   Other than the transcription by the official court
      reporter, the testimony and court proceedings may not
      be recorded, live-streamed, or otherwise broadcast.
      Photographs of the testimony are also prohibited.

(6)   The defense will use the S.D.N.Y. videoconference
      platform “Jabber” for the witness’s remote testimony
      and must successfully test that platform at least 72
      hours before the testimony. To the extent there is an
      issue with that platform, the defense will immediately
      advise the Court. If the defense wants to use another
      videoconference platform for a witness’s remote
      testimony, the defense must make an application no
      later than November 9, 2020.

(7)   The oath will be administered by the Court’s courtroom
      deputy.

(8)   Witnesses providing remote testimony shall be
      instructed to follow the following guidelines:

      a. To the extent possible, please choose a location
         that can provide you with the best and most
         consistent internet access.

      b. To the extent possible, please choose a location
         that can provide you quiet and solicitude so that
         you will not be interrupted or distracted while
         testifying.

      c. To the extent possible, choose a location where you
         can be alone. While you are testifying, you may not
         consult or communicate with anyone other than the
         Judge, the attorney conducting the examination, and,
         if applicable, the court-certified language
         interpreter.

      d. Even though you are not in a courtroom, you shall
         testify as if you were in court. You will take an
         oath to tell the truth, your testimony will be
         recorded and will become part of the official court
         record for this case. Mr. Donziger or his counsel


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                will ask you questions, and the prosecutors may or
                may not ask you questions.

             e. Your testimony and the court proceedings may not be
                recorded, live-streamed, or otherwise broadcast.
                Photographs of the testimony are also prohibited.

             f. Once you are finished testifying, the Judge will
                thank you and you will be free to disconnect and
                your “court session” will be complete.


SO ORDERED.

Dated:     November 5, 2020
           New York, New York




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                                           LORETTA A. PRESKA, U.S.D.J.




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